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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


PETERSEN ENERGÍA INVERSORA, S.A.U. and
PETERSEN ENERGÍA, S.A.U.,

                                 Plaintiffs,

              -against-

ARGENTINE REPUBLIC and YPF S.A.,
                                                                 Case Nos.:
                                 Defendants.
                                                                 1:15-cv-02739-LAP
                                                                 1:16-cv-08569-LAP
ETON PARK CAPITAL MANAGEMENT, L.P.,
ETON PARK MASTER FUND, LTD., and
ETON PARK FUND, L.P.,

                                 Plaintiffs,

              -against-

ARGENTINE REPUBLIC and YPF S.A.,

                                 Defendants.


                                    [PROPOSED] ORDER

       Before the Court is Plaintiffs’ January 11, 2021 letter motion requesting that portions of

the Memorandum of Law in Support of Plaintiffs’ Assertion of Privilege With Respect to

Communications with Burford Capital, as well as Exhibits 1-3 and 5-9 attached thereto, be filed

under seal. Upon review of the letter motion and all prior proceedings in the above-captioned

actions, and otherwise being duly advised, it is hereby ORDERED that:

       Plaintiffs’ letter motion is GRANTED on the ground that the sealed material
                                            contains confidential business information.
                12 day of _________,
SO ORDERED this ___        January 2021.
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                            ________________________________
                            LORETTA A. PRESKA
                            Senior United States District Judge
